    Case: 1:21-cr-00698 Document #: 46 Filed: 03/30/23 Page 1 of 2 PageID #:214




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                )
                                        )      No. 21 CR 698
       v.                               )
                                        )      Judge Robert W. Gettleman
RONALD T. MOLO                          )

   GOVERNMENT’S MOTION TO SEAL ITS SENTENCING MEMORANDUM

       The UNITED STATES OF AMERICA, by MORRIS PASQUAL, Acting United

States Attorney for the Northern District of Illinois, hereby moves to seal its Position

Paper as to Sentencing Factors (doc. 45) pursuant to Local Rule 26.2, and states as

follows:

       1.     On March 29, 2023, the government filed its sentencing memo, entitled

Government’s Position Paper as to Sentencing Factors (doc. 45), pursuant to the

schedule set by this Court. In that sentencing memo, the government quoted from

certain victim impact statements that were submitted to the Probation Officer and

then to the Court via a Supplemental Report of the Probation Officer (doc. 44). The

government referred to the persons who submitted the victim impact statements by

their initials.

       2.     To further protect the identities and privacy interests of those persons

who submitted victim impact statements, the government requests that the Court

place under seal the sentencing memo filed by the government. Following the sealing

of that document, the government will file a redacted version of its sentencing memo.
    Case: 1:21-cr-00698 Document #: 46 Filed: 03/30/23 Page 2 of 2 PageID #:215




      WHEREFORE, the United States respectfully requests that the Court grant

this motion and seal its sentencing memo (doc. 45) pursuant to Local Rule 26.2.




                                             Respectfully submitted,

                                             MORRIS PASQUAL
                                             Acting United States Attorney

                                      By:    /s/Brian R. Havey
                                             BRIAN R. HAVEY
                                             Assistant United States Attorney
                                             219 South Dearborn Street
                                             Chicago, Illinois 60604
                                             (312) 469-6305
                                             brian.havey@usdoj.gov




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